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                      EXHIBIT 5
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 YT              "VOYNOW 3JAYAE.D WHYTE
                         ANT> COMPANY, LLP
                                aEP-XIHIED PTIB 1,1 a AaaotTHTANTS
                                                                                                             7AHTMEBS:
                                                                                                             HUGH WHYTE, CPA
                                                                                                             KENNETH MANN, CPA
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                                                                                                              DJiVW   KAPLANj C?A
                                                                                                              ROBERT KTRKHOP?) CPA
                                                                                                              SItAWKP. MCCORMACK.
                                                                                                              ROBERT?. SE1EBL, CPA


                                                                                                              ?AVI»VOYMOWi CPA*
                                                                      January 2, 2014                         ROBERT II. BAYARD, CPA*
                                                                                                              ♦inactive




Mr. Michael Koufakis
Star Nissan, Xnc.
206—2S Northern Boulevard
Bayside, NY 11361

        Re:      Star Auto Sales of Bayside, Inc.                           (Star Toyota)
                 Star Nissan, Inc.
                 Star Chrysler Jeep Dodge
                 Star Auto Sales of Queens, IiIiC (Star Subaru)
                 Star Auto Sales of Queens Village, LLC (Star Mitsubishi)
                 Star Auto Sales of Queens County, LLC (Star Fiat)
                 Star Hyundai, LLC
                 Star Auto Body of Queens Village IiLC
                 Koufakis Realty LLC
                 Koufakis Realty 211-52 Jamaica Ave
                 210—10 Jamaica Ave, LLC
                 211-48 Jamaica Ave, LLC
                 205—11 Northern Blvd, LLC
                 The Koufakis Childrens Trust
                 Georgia Koufakis Trust
                 John M. Koufakis Grandchildren's Trust


Dear Michael:

We are pleased to confirm and specify the terms of our engagement with the
above mentioned companies and to clarify the nature and extent of the
services we will provide regarding the preparation of its (their) tax
return(s).

We will prepare the 2013 federal tax returns, and tax returns for the state
and localities of organization and/or where doing business (collectively,
the "returns) in 2013. You are responsible for providing us all information
necessary to identify all state and localities in which it conducts
business or derives income.

Our engagement will be satisfied upon our electronic filing (e-filing)
and/or delivery of the completed returns. Therefore, you will be solely
responsible for filing the returns with the appropriate taxing authorities
and/or for providing to us the appropriate authorization for e-filing.

      NOB.THim.OOK CORPORATE CENTER.112IO NORTHBROOK DRIVE • SUITE 140 • TRBVOSE, PA I9053 » 2i5.3jJ.80OO ■ SIJ.396.2OOO P
                              MEMBER* AMERICAN INSTITUTE OP CERTIWED PUBLIC ACCOUNTANTS
                             MEMBER* PENNSYLVANIA INSTITUTE OP CERTIFIED PUBLIC ACCOUNTANTS




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 We will prepare the returns from, information provided us. It is the your
 responsibility to provide all the information required for the preparation
 of complete and accurate returns, We will not audit or otherwise verify
 the information submitted. Co the extent we render any services, it will
 be limited to those tasks we deem necessary for the preparation of the
 returns only. Historically, we have provided assistance in preparing
 certain reconciliations of balance sheet and income statement accounts
 based on the information supplied to us. Chis list is not necessarily all
 inclusive, however, it is usually limited to, as follows:

           Reconciliation of Retained Earnings
           Recognition of Depreciation and Amortization Expenses
           Reconciliation of Shareholder or Partner Loans
 Unless otherwise noted by you, this same assistance will be provided during
 the current year engagement and is subject to the same terms and conditions
 set forth in this letter. Please note that we will not determine the
 completeness or accuracy of the information supplied and the assistance
 we do provide is not to be construed as an oversight function, in any
 respect, of a company's accounting system; therefore, there should be no
 reliance, stated or implied, by a company on the accuracy of the assistance
 we are to provide. As a result of our assistance, we may propose standard,
 adjusting, or correcting journal entries to your books and records. Ihe
 company, however, has final responsibility for reviewing the proposed
 entries and understanding the nature and impact of the proposed entries on
 the returns. Furthermore, it is the company's responsibility, once these
 entries have been agreed to, to post the entries to its accounting system
 in a timely manner.

Unless we are otherwise advised, you are responsible for confirming that
personal expenses, if any, are segregated from business expenses and
expenses such as meals, travel, entertainment, vehicle use, gifts, and
related expenses, are supported by necessary records required by the IRS
and other taxing authorities. At your request, we are available to answer
your questions and advise you on the types of supporting records required.

The law provides various penalties that may be imposed when taxpayers
understate their liability, Xou acknowledge that such understated tax, and
any imposed interest and penalty thereon, are your responsibility. A
company's returns may be selected for review by the taxing authorities or a
company may receive a notice requesting a response to certain issues on a
tax return. Any proposed adjustments by the examining agent are subject to
certain rights of appeal. In the event of such government tax examination
or inquiry, we will clarify the nature and extent of services we will
provide regarding the tax examination or inquiry response and will render
additional invoices for these services.

Any additional services not referenced above will be considered "out of
scope" of this engagement letter, Prior to the commencement of "out of
scope" services, we will discuss the nature and extent of the work that
clarifies these services.

The timeliness of a company's cooperation is essential to our ability to
complete this engagement. Specifically, we must receive sufficient




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 information from which to prepare the return within a reasonable period of
 time prior to the applicable filing deadline.
 It may become necessary to apply for an extension of the filing deadline if
 there are unresolved tax issues or delays in processing, or if we do not
 receive all of the necessary information from you on a timely basis.

 We will not audit or otherwise verify the data submitted. Accordingly, our
 engagement cannot be relied upon to disclose errors, fraud, or other
 illegal acts that may exist. However, it may be necessary to ask the
 company for clarification of some of the information provided, and we will
 inform the company of any material errors, fraud, or other illegal acts
 that come to our attention.

 You are responsible for maintaining an adequate and efficient accounting
 system, for safeguarding assets, for authorizing transactions, and for
 retaining supporting documentation for those transactions, all of which
 will among other things, help assure the preparation of proper returns.
 Furthermore, you are responsible to review all of the information presented
 on the tax returns for correctness.

You acknowledge your responsibility to inform us of any listed transactions
or transactions of interest as designated by the XRS. You agree to hold us
harmless with respect to any additional taxes, penalties or interest
imposed on you by taxing authorities resulting from your failure to time
notify us, in writing, of all such transactions in order to facilitate the
timely preparation and filing of your tax returns.

You should retain all books and records, documents, cancelled checks, and
other data that form the basis of income, deductions, and credits. These
may be necessary to prove the accuracy and completeness of the returns to a
taxing authority. The taxpayer has the final responsibility for the tax
returns and, therefore, they should be reviewed carefully before being
signed.

We may encounter instances where the tax law is unclear, or where there may
be conflicts between the taxing authorities' interpretation of the law and
other supportable positions. In the end, we will adopt, on the company's
behalf the alternative which you select after having considered the
information provided by us. Pursuant to standards prescribed in IRS
Circular 230 and IRC 6694, we are permitted to sign a tax return only if we
have a reasonable belief that there is substantial authority for a tax
position taken on the return or we have a reasonable basis for a tax
position taken on the return and we disclose this tax position on a
separate attachment to the tax return. However, under no circumstances may
we sign a tax return with a tax position that has no reasonable basis.
Our fees for this engagement are not contingent on the results of our
services. Rather, our fees for this engagement will be based on a number
of factors, including but not limited to, the time spent as well as the
complexity of the services we will perform, subject to any existing overall
fee arrangement with us.

Any inability on our part to sign a tax return, such as because of a
disagreement over a disclosure of a tax position, non-response by you of




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 Me . Michael Koufakis
 January 2, 2014
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 information requested or non-payment of fees {among other things) will
 constitute a basis for our election to terminate our services, If we elect
 to terminate our services, our engagement will be deemed to have been
 completed upon written notification of termination, even if we have not
 completed the returns . The company will be obligated, through the date of
 termination, to compensate us for all outstanding invoices as well as our
 final invoice for our time through the date of our withdrawal.

 She IRS permits you to authorize us to discuss with its representatives, on
 a limited basis, aspects of your return for one year after the return's due
 date. Your consent to such a discussion is evidenced by checking a box on
 the return. Unless you tell us otherwise, we will check that box
 authorizing the IRS to discuss your return with us. According to IRC Sec.
 7216, we cannot authorize the use of or disclose any tax information
 {including just simply your name and address) to third parties at your
 request, without your expressed written, consent under a prescribed IRS
 format.

Certain communications involving tax advice are privileged and not subject
to disclosure to the IRS. By disclosing the contents of those
communications to anyone, or by turning over information about those
communications to the government, you, your employees or agents may be
waiving this privilege. To protect this right to privileged communication,
please consult with us or your attorney prior to disclosing any information
about our tax advice. Should you decide that it is appropriate for us to
disclose any potentially privileged aomnmnication, you agree to provide us
with written, advance authority to make that disclosure.

Should you receive any request for the disclosure of privilege information
from any third party, including a subpoena or IRS summons, we will notify
you. In the event that you direct us not to make the disclosure, you agree
to hold us harmless for any expenses incurred in defending the privilege,
including, by way of illustration only, our attorney's fees, court costs,
outside adviser's costs, or penalties or fines imposed as a result of your
asserting the privilege or your direction to us to assert the privilege.
In the event we are regained to respond to a subpoena, court order or other
legal process for the production of documents and/or testimony relative to
information we obtained and/or prepared during the course of this
engagement, the company agrees to compensate us, as set forth above, for
the time we expend in connection with such response, and to reimburse us
for all of our out-of-pocket costs incurred in this regard.

In the event that we become obligated to pay any judgement or similar
award, the company agrees to pay any amount in settlement, and any costs
incurred as a result of any inaccurate or incomplete information that the
company provided to us during the course of this engagement. The company
agrees to indemnify us, defend us, and hold us harmless against such
obligations, agreements and/or costs.

If, after full consideration and consultation with counsel if so desired,
the company agrees to authorize us to prepare the tax returns pursuant to
the terms set forth above, please execute this letter on the line below
designated for signature by an officer, and return this executed letter to
this office. The company should keep a copy of this fully executed letter




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 for its records. Once we receive from you this executed letter, and only
 then, can we commence with the process involved in the preparation of your
 tax returns.

We appreciate the opportunity to be of service to you and believe this
letter accurately summarizes the significant terms of the engagement. If
you have any questions, please let us know. We will be pleased to discuss
this letter with you at any time.



                                      Very truly yours,
                                      Voi^rmw-, (Eoj^afuL,   & Gmapmu^, iJJ?
                                      VOYNOW, BAY2URD, WHZffiE £ COMPANY, LLP
                                      Certified Public Accountants

ACCEPTED AND AGREED:



          Michael Koufakis


               Date




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